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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Civil Action No. 10-cv-80883-MARRA

  MAGALY PINARES et al.,

  Plaintiffs,

  v.
  UNITED TECH. CORP., Pratt
  & Whitney Group, a Connecticut
  Corporation,

  Defendant.
  _________________________/

                                         FINAL JUDGMENT

          Based on the previously entered Order granting summary judgment for Defendant on

  Counts I, II, III and V of Plaintiffs’ Fourth Amended Complaint (DE 514; DE 520), and the filing

  by Plaintiffs of their Fifth Amended Complaint which eliminated Count IV of the Fourth

  Amended Complaint, summary judgment is hereby entered on behalf of Defendant United

  Technologies Corporation, d/b/a Pratt & Whitney on Counts I, II, III and IV of Plaintiffs’ Fifth

  Amended Complaint, and against Plaintiff, Marcos Pinares, as Personal Representative of the

  Estate of Magaly Pinares, on behalf of the Estate, and Plaintiff shall take nothing in this action.

          The Clerk shall close this case.

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 4th day of November, 2019.

                                                ______________________________________
                                                KENNETH A. MARRA
                                                United States District Judge
